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June 7, 2023

VIA CM/ECF

Peter R. Marksteiner
Clerk of Court
United States Court of Appeals for the Federal Circuit
717 Madison Place, N.W.
Washington, D.C. 20439

Dear Colonel Marksteiner:

Pursuant to Federal Rule of Appellate Procedure 28(j), Appellee writes in response to Appellant’s
May 30, 2023 letter informing the Court that the Supreme Court of the United States decided Amgen
Inc. v. Sanofi, No. 21-757.

Appellee agrees that Amgen is supplemental authority relevant to this appeal; both Parties, and the
District Court in the opinion from which this appeal arises, extensively cited this Court’s decision in
Amgen, which the Supreme Court has now affirmed.

Appellee respectfully disagrees, however, with Appellant’s assessment of Amgen’s impact on this
appeal. Appellant has always contended that its patent enables the full scope of the asserted claims
because a skilled artisan could create new antibodies within the claimed genera by (i) following
Appellant’s roadmap (immunizing mice with human Factor IX/IXa, forming hybridomas from the
antibody-producing spleen cells of those mice, and testing those antibodies to see if they meet the
two claimed functions, i.e., binding Factor IXa and increasing its procoagulant activity), and further
(ii) modifying those antibodies into the claimed antibody formats. (See, e.g., Blue Br. at 7–8, 11–17,
23, 33–36, 40, 43–45.) Those are the approaches that the Supreme Court rejected as “little more
than two research assignments.” Slip Op. at 16. While the Court left open that a “roadmap” might
be sufficient on a different record, the very circumstance the Court suggested might suffice—
identifying “a quality common to every functional embodiment,” id. at 17—is precisely what is
missing here. Appellant’s own experts agree that the patent-in-suit discloses no common structural
feature delineating which anti-Factor IX/IXa antibodies will have the two claimed functions. (See,
e.g., Appx.53). Appellant’s patent claims are not enabled for, among others, the same reasons as in
Amgen.
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                             Respectfully submitted,

                             /s/ Eric Alan Stone
                             Eric Alan Stone

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          technology and techniques discussed in the patent for producing and testing antibodies

                                     264–265. But it would not be possible for a person skilled in
          generally, Marasco Rpt. ¶¶ 264-265.

          the art to predict which antibodies would satisfy the claim limitations without trial-and-

          error testing. See Scheiflinger Dep. Tr. at 92:15-93:3;
                                                      92:15–93:3; Marasco Dep. Tr. at 205:04-19;
                                                                                      205:04–19;

         Krishnaswamy Dep. Tr. at 168:09–168:19.
                                  168:09-168:19.

  11.     There is no guidance or direction in the specification of
                                                                 of the ’590
                                                                        '590 patent as to how to identify

          antibodies that satisfy the claim limitations except by using trial and error. See Marasco

         Dep. Tr. at 205:04-19;
                     205:04–19; Krishnaswamy Dep. Tr. at 168:09–168:19;
                                                         168:09-168:19; Scheiflinger Dep. Tr. at

          92:15–93:3.
          92:15-93:3.

  12.    “The only way to know [what antibodies bind as well as function as needed] is to make
         "The

                              them.” Krishnaswamy Dep. Tr. at 168:20-169:02;
          antibodies and test them."                          168:20–169:02; Marasco Dep. Tr. at

          218:23–219:04. 10 The ’590
          218:23-219:04.1°      '590 patent does not describe what structural or other features of
                                                                                                of

          the disclosed antibodies cause them to bind to Factor IX/IXa or to increase the procoagulant

                   of Factor IXa. See Garcia Rpt. ¶ 130; Scheiflinger Dep. Tr. at 91:23-92:3;
          activity of                                                             91:23–92:3; 97:23-
                                                                                              97:23–

          98:02.




                                             of means, or would have general familiarity
                   capabilities by a variety of
                   with basic concepts in immunology, including basic knowledge of    of
                   methods for making antibodies and using them as therapeutics. This
                   hypothetical person would be teamed with or have access to other
                   highly skilled individuals with advanced degrees (e.g., Ph.Ds.) in
                   other biological disciplines such as immunology or molecular
                   biology who had several years'
                                              years’ experience with methods to produce
                                                     of interest.
                   antibodies that bind to antigens of
      ¶ 53; Marasco Rpt.
  Id. ¶                Rpt. ¶ 264.
  10
  10
          “Q. . . . [T]he only way that the patent teaches a person of
          "Q.                                                       of ordinary skill how to tell whether
  a given antibody to Factor IXIX or Factor IXa, in fact, increases the procoagulant activity of
                                                                                              of Factor
  IXa is to test that antibody in an assay, correct? A. That’s                 teaches.”
                                                        That's what the patent teaches."
                                                    24

                                                Appx53
